Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 1 of 19

NOTICE OF DISHONOR

Notice Date: Day: Fifteen Month: Three Year: 2023 CE

Angela D. Caesar

Clerk of Court United States District Court District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument “NON-NEGOTIABLE NOTICE OF
ACCEPTANCE? dated Day: Twenty-Eight Month Two Year 2023 CE “Case 1:21-
cr-00091-RCL Document 43 Filed 02/16/21 Page 1 of 4 UNITED STATES
DISTRICT COURT for the District of Columbia Case: 1:21-cr-00091 Assigned To:
Lamberth Royce C Assign. Date: 02/05/2021 Description: INDICTMENT (B)
ARREST WARRANT G. Michael Harvey, U.S. Magistrate Judge, Page 2 of 14,
Page 3 of 14, Page 4 of 14, Page 5 of 14, Page 6 of 14, Page 7 of 14 ARREST
WARRANT, Page 8 of 14, Page 9 of 14 David 2. Christel United States Magistrate
Judge, Page 10 of 14 APPEARANCE BOND CASE No.: MJ21-5036-DWC,
Page 11 of 14 David Christel United States Magistrate Judge, Page 12 of 14
BOND CLOSED PASSPORT, Page 13 of 14, Page 14 of 14” has been dishonored or

has not been paid or accepted.

I intend to look to you for payment or performance.

RECEIVED
Mail Room Sincerely.
) ;
MAR 23 2023 Aayfer fpomer Jobat
Angela D. Caesar, Cletk of Court Taylor James Johnatakis
U.S. District Coit, District of Columbia % 29628 Gamble PL NE
Kingston, Washington

ce: Judge David W. Christel United States Courthouse 1717 Pacific Avenue Room 3100 Tacoma WA 983402

cc: WILLIAM M MCCOLL CLERK OF COURT, UNITED STATES DISTRICT COURT WESTERN DISTRICT OF
WASHINGTON 1717 Pacific Ave., Suite 3100 Tacoma, WA 98402

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St, N.W. Washington, D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 6235 Indiana Ave, N.W. Washington DC 20004
cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

ce: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854
cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

ce: Judge G. Michael Harvey U.S. District Court, District of Columbia (Washington, DC) 333 Constitution Avenue NW
Washington, D.C. 20001

Page t of 1
Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 2 of 19

NOTICE OF DISHONOR
Notice Date: Day: Seventeen Month: Three Year: 2023 CE

Angela D. Caesar

Clerk of Court United States District Court District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument NON-NEGOTIABLE NOTICE OF
ACCEPTANCE? dated Day: Eight Month: Three Year: 2023 CE “IN THE UNITED
STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
CASE NO. 21-CR-91-3 (RCL) 18 U.S.C. § 1512(c)(2) 18 U.S.C. § 111(a)(1)
STATEMENT OF OFFENSE Page 1 of 6, Page 2 of 6, Page 3 of 6, Page 4 of
6, Page 5 of 6 Respectfully submitted CHANNING D. PHILLIPS Acting
United States Attorney By: Angela N. Buckner Page 5 of 6, DEFENDANT'S
ACKNOWLEDGMENT ATTORNEY’S ACKNOWLEDGMENT Page 6 of 6”

has been dishonored or has not been paid or accepted.

I intend to look to you for payment or performance.

RECEIVED Sincerely,
Mail Room f / ,
| ayfer fares. ohvcties
MAR 22 2023 Taylor James Johnatakis
EE | % 29628 Gamble PL NE
USS. District Cot, District aColumbia | Kingston, Washington

cc: Judge Royce C, Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

ce: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004
cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

cc: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854
cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 3 of 19

NOTICE OF DISHONOR

Notice Date: Day: Seventeen Month: Three Year: 2023 CE

Angela D. Caesar

Clerk of Court United States District Court District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument “NON-NEGOTIABLE NOTICE OF
ACCEPTANCE?” dated Day: Twenty-Eight Month Two Year 2023 CE “Case 1:21-
cr-00091-RCL Document 15 Filed 02/17/21 Page 1 of 1 UNITED STATES
DISTRICT COURT for the District of Columbia Case: 1:21-cr-00091 Assigned
To: Lamberth Royce C. Assign Date: 02/05/2021 Description: INDICTMENT
(B) ARREST WARRANT Date 02/05/2021 G. Michael Harvey Digitally
signed G. Michael Harvey U.S. Magistrate Judge, Return This warrant was
received on (date) 2-05-2021 and the person was arrested on (date) 2-11-2021
at (city and state) Kingston WA Date: 2-11-2021” has been dishonored or has not
been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,

jefe fpr dpc

Taylor James Johnatakis
% 29628 Gamble PL NE
Kingston, Washington

Room

MAR 22 2023

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004
cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

cc: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20834
cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

cc: G Michael Harvey, U.S. Magistrate Judge, 333 Constitution Avenue NW Washington, D.C. 20001

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 4 of 19

NOTICE OF DISHONOR

Notice Date: Day: Seventeen Month: Three Year: 2023 CE

Angela D. Caesar

Clerk of Court United States District Court District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument NON-NEGOTIABLE NOTICE OF

ACCEPTANCE? dated Day: Eight Month: Three Year: 2023 CE “U.S. Department of

Justice Channing D. Phillips Acting United States Attorney District of
Columbia August 3 2021 BY EMAIL Christopher Black Re: United States v.
Craig m. Bingers et al Criminal Case No. 21-cr-91 Page | of 12, Page 2 of 12,
Page 3 of 12, Page 4 of 12, Page 5 of 12, Page 6 of 12, Page 7 of 12, Page 8 of
12, Page 9 of 12, Page 10 of 12, Sincerely yours Channing D. Phillips/ATF By:

Angela N. Buckner Page 11 of 12, DEFENDANT’S ACCEPTANCE Page 12 of

12” has been dishonored or has not been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,
RECEIVED
Mail Room : yoyo Ga meD. bf ‘ala
MAR 22 2023 Taylor James Johnatakis
a % 29628 Gamble PL NE

ce: Judge Royce C, Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attomey Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

ce: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004
ce: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

cc: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854
cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

cc: Channing D. Phillips 555 Fourth St. N.W. Washington D.C. 20530

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 5 of 19

NOTICE OF DISHONOR

Notice Date: Day: Fourteen Month: Three Year: 2023 CE

Angela D. Caesar

Clerk of Court United States District Court District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument “NON-NEGOTIABLE NOTICE OF
ACCEPTANCE?” dated Day: Twenty-Eight Month Two Year 2023 CE “Case 1:21-
cr-00091-RCL Document 34 Filed 05/07/21 Page 1 of 4 UNITED STATES DISTRICT
COURT FOR THE DISTRICT OF COLUMBIA Grand Jury Sworn in on January 8,
2021 CRIMINAL NO. 21-CR-01-03 (RCL) INDICTMENT COUNT ONE, Page 2 of 4
COUNT TWO COUNT THREE, Page 3 of 4 COUNT FOUR CO FIVE COUNT
SIX, Page 4 of 4 COUNT SEVEN COUNT EIGHT A TRUE BILL: FOREPERSON
Channing D Phillips Attorney of the United States in and for the District of Columbia” has
been dishonored or has not been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,

jefe Spm fp

Taylor James Johnatakis
% 29628 Gamble PL NE
Kingston, Washington

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St. N.W. Washington, D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004
cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

cc: Allen H. Orenberg, The Orenberg Law Fimm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854
cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

RECEIVED
Mail Room

MAR 20 2023

Page 1 of 1

Angela D. Caesar, Clerk of Court
U.S. District Court, District of Columbia

Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 6 of 19

NOTICE OF DISHONOR

Notice Date: Day: Fourteen Month: Three Year: 2023 CE

Angela D. Caesar

Clerk of Court United States District Court District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument “NON-NEGOTIABLE NOTICE OF
ACCEPTANCE?” dated Day: Twenty-Seven Month Two Year 2023 CE “Case 1:21-
cr-00091-RCL Document 31 Filed 05/04/21 Page 1 of 6 UNITED STATES DISTRICT
COURT FOR THE DISTRICT OF COLUMBIA Case No. 21-cr-91-01/03 (RCL)
PROTECTIVE ORDER GOVERNING DISCOVERY, Page 2 of 6, Page 3 of 6, Page 4 of
6, Page 5 of 6, Page 6 of 6 SO ORDERED 44th day of May 2021 Royce C. Lamberth
United States District Judge” has been dishonored or has not been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,

je Homes. fohrcatitd

Taylor James Johnatakis
% 29628 Gamble PL NE
Kingston, Washington

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004
cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

cc: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854
ce: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

RECEIVED
Mail Room

MAR 20 2023

Angela D. Caesar, Clerk of Court —
U.S. District Court, District of Columbia

Page 1 of 1

Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 7 of 19

NOTICE OF DISHONOR
Notice Date: Day: Fourteen Month: Three Year: 2023 CE

Angela D. Caesar

Clerk of Court United States District Court District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument “NON-NEGOTIABLE NOTICE OF
ACCEPTANCE? dated Day: Twenty-Eight Month Two Year 2023 CE “Case 1:21-
cr-00091-RCL Document 53 Filed 11/10/21 Page 1 of 4 UNITED STATES
DISTRICT COURT FOR THE DISTRICT OF COLUMBIA Grand Jury
Sworn in on January 8, 2021 CRIMINAL NO. 21-CR-091-01-03 (RCL)
INDICTMENT COUNT ONE, Page 2 of 4 COUNT TWO COUNT
THREE, Page 3 of 4 COUNT FOUR COUNT FIVE COUNT SIX,Page 4 of
4 COUNT SEVEN COUNT EIGHT A TRUE BILL: FOREPERSON
Mathew M Graves Attorney of the United States in and for the District of
Columbia” has been dishonored or has not been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,
| RECEIVED agp
Mail Room fos nD. Aohwalelen
Taylor James Johnatakis
MAR 20 2023 % 29628 Gamble PL NE
| Angela D. Caesaf, Cletk of Court Kingston, Washington
| U.S. District Court, District of Columbia

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004
cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

cc: Allen H. Orenberg, The Orenberg Law Firm, P.C, 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854
cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 8 of 19

NOTICE OF DISHONOR

Notice Date: Day: Fifteen Month: Three Year: 2023 CE

Angela D. Caesar
Clerk of Court United States District Court District of Columbia

333 Constitution Avenue N.W.
Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument “NON-NEGOTIABLE NOTICE OF
ACCEPTANCE? dated Day: Twenty-Eight Month Two Year 2023 CE “Case 1:21-
cr-00091-RCL Document 12 Filed 2/17/21 Page 1 of 3 UNITED STATES
DISTRICT COURT for the District of Columbia Case No. C21-91-03 ORDER
SETTING CONDITIONS OF RELEASE, Page 2 of 3, Page 3 of 3
Magistrate Judge Robin Meriweather” has been dishonored or has not been paid or

accepted.

I intend to look to you for payment or performance.

Sincerely,

up Spores. fobativs

Taylor James Johnatakis
% 29628 Gamble PL NE
Kingston, Washington

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St, N.W. Washington, D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004

cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

cc: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854

cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

cc: Judge Robin M. Meriweather U.S. District Court, District of Columbia (Washington, DC) 333 Constitution Avenue NW

Washington, D.C. 20001

RECEIVED
Mail Room

MAR 20 2023

Angela D, Caesar. Clerk of
ge 1S desar, Clerk of Court
U.S. District C ourt, District of Columbia

Page 1 of I
Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 9 of 19

@
NOTICE OF DISHONOR Zp,

Notice Date: Day: Seventeen Month: Three Year: 2023 CE

Angela D. Caesar

Clerk of Court United States District Court District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument “NON-NEGOTIABLE NOTICE OF
ACCEPTANCE? dated Day: Twenty-Eight Month Two Year 2023 CE “Case 1:21-
cr-00091-RCL Document 15 Filed 02/17/21 Page 1 of 1 UNITED STATES
DISTRICT COURT for the District of Columbia Case: 1:21-cr-00091 Assigned
To: Lamberth Royce C. Assign Date: 02/05/2021 Description: INDICTMENT
(B) ARREST WARRANT Date 02/05/2021 G. Michael Harvey Digitally
signed G. Michael Harvey U.S. Magistrate Judge, Return This warrant was
received on (date) 2-05-2021 and the person was arrested on (date) 2-11-2021
at (city and state) Kingston WA Date: 2-11-2021” has been dishonored or has not

been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,

upon fren. obit
Taylor James Johnatakis
% 29628 Gamble PL NE

Kingston, Washington

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004
cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

cc: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854
cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98 104

cc: G Michael Harvey, U.S. Magistrate Judge, 333 Constitution Avenue NW Washington, D.C. 20001

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 10 of 19

NOTICE OF DISHONOR 2,
Notice Date: Day: Seventeen Month: Three Year: 2023 CE

Angela D. Caesar

Clerk of Court United States District Court District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument NON-NEGOTIABLE NOTICE OF
ACCEPTANCE? dated Day: Eight Month: Three Year: 2023 CE “U.S. Department of
Justice Channing D. Phillips Acting United States Attorney District of
Columbia August 3 2021 BY EMAIL Christopher Black Re: United States v.
Craig m. Bingers et al Criminal Case No. 21-cr-91 Page 1 of 12, Page 2 of 12,
Page 3 of 12, Page 4 of 12, Page 5 of 12, Page 6 of 12, Page 7 of 12, Page 8 of
12, Page 9 of 12, Page 10 of 12, Sincerely yours Channing D. Phillips/ATF By:
Angela N. Buckner Page 11 of 12, DEFENDANT’ ACCEPTANCE Page 12 of
12” has been dishonored or has not been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,

/ 4,
Hype fpoomes. Sohwalelon
Taylor James Johnatakis
% 29628 Gamble PL NE

Kingston, Washington

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004
cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

cc: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854
cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

cc: Channing D. Phillips 555 Fourth St. N.W. Washington D.C. 20530

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 11 of 19

NOTICE OF DISHONOR oD)

Notice Date: Day: Seventeen Month: Three Year: 2023 CE

Angela D. Caesar
Clerk of Court United States District Court District of Columbia

333 Constitution Avenue N.W.
Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument NON-NEGOTIABLE NOTICE OF
ACCEPTANCE? dated Day: Eight Month: Three Year: 2023 CE “IN THE UNITED
STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
CASE NO. 21-CR-91-3 (RCL) 18 U.S.C. § 1512(c)(2) 18 U.S.C. § 111(a)()
STATEMENT OF OFFENSE Page 1 of 6, Page 2 of 6, Page 3 of 6, Page 4 of
6, Page 5 of 6 Respectfully submitted CHANNING D. PHILLIPS Acting
United States Attorney By: Angela N. Buckner Page 5 of 6, DEFENDANT’S
ACKNOWLEDGMENT ATTORNEY’S ACKNOWLEDGMENT Page 6 of 6”

has been dishonored or has not been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,
yep ames Dba
Taylor James Johnatakis

% 29628 Gamble PL NE
Kingston, Washington

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004
cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

ce: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854
cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 12 of 19

NOTICE OF DISHONOR
Notice Date: Day: Fourteen Month: Three Year: 2023 CE

Angela D. Caesar

Clerk of Court United States District Court District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument “NON-NEGOTIABLE NOTICE OF
ACCEPTANCE? dated Day: Twenty-Eight Month Two Year 2023 CE “Case 1:21-
cr-00091-RCL Document 53 Filed 11/10/21 Page 1 of 4 UNITED STATES
DISTRICT COURT FOR THE DISTRICT OF COLUMBIA Grand Jury
Sworn in on January 8, 2021 CRIMINAL NO. 21-CR-091-01-03 (RCL)
INDICTMENT COUNT ONE, Page 2 of 4 COUNT TWO COUNT
THREE, Page 3 of 4 COUNT FOUR COUNT FIVE COUNT SIX,Page 4 of

4 COUNT SEVEN COUNT EIGHT A TRUE BILL: FOREPERSON
Mathew M Graves Attorney of the United States in and for the District of

Columbia” has been dishonored or has not been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,
peop fers fobs
Taylor James Johnatakis

% 29628 Gamble PL NE
Kingston, Washington

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St, N.W. Washington, D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 6235 Indiana Ave, N.W. Washington DC 20004
cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

cc: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854
cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 13 of 19

NOTICE OF DISHONOR
Notice Date: Day: Fifteen Month: Three Year: 2023 CE

Angela D. Caesar

Clerk of Court United States District Court District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument “NON-NEGOTIABLE NOTICE OF
ACCEPTANCE? dated Day: Twenty-Eight Month Two Year 2023 CE “Case 1:21-
cr-00091-RCL Document 12 Filed 2/17/21 Page 1 of 3 UNITED STATES
DISTRICT COURT for the District of Columbia Case No. C21-91-03 ORDER
SETTING CONDITIONS OF RELEASE, Page 2 of 3, Page 3 of 3
Magistrate Judge Robin Meriweather” has been dishonored or has not been paid or
accepted.

I intend to look to you for payment or performance.

Sincerely,
ype fore fphwatie
Taylor James Johnatakis

% 29628 Gamble PL NE
Kingston, Washington

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004

cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

cc: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854

cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

cc: Judge Robin M. Meriweather U.S. District Court, District of Columbia (Washington, DC) 333 Constitution Avenue NW
Washington, D.C. 20001

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 14 of 19

Oy
NOTICE OF DISHONOR Z)p
Notice Date: Day: Fifteen Month: Three Year: 2023 CE

Kaitlin Klamann

Assistant United States Attorney oe

601 D Street NW at Room

Washington, D.C. 20001 MAR 90 2023

Angela D. Cavsay, Clerk of Court
U.S. District Court, District of Columbia

PLEASE TAKE NOTICE that instrument “NON-NEGOTIABLE NOTICE OF
ACCEPTANCE? dated Day: Five Month Three Year 2023 CE “Case 1:21-cr-00091-
RCL Document 116 Filed 3/06/23 Page 1 of 4 UNITED STATES DISTRICT
COURT FOR THE DISTRICT OF COLUMBIA UNITED STATES OF
AMERICA v. CRAIG MICHAEL BINGERT ISAAC STEVE STURGEON
and TAYLOR JAMES JOHNATAKIS Defendants Case No.: 1-21-
ccr-00091-RCL GOVERNMENT’S RESPONSE IN OPPOSITION TO
MOTION TO SEVER, Page 2 of 4, Page 3 of 4, Page 4 of 4 CONCLUSION
Respectfully submitted MATTHEW M. GRAVES United States Attorney By:
Kaitlin Klamann Assistant United States Attorney” has been dishonored or has not
been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,

jefe fpore> folate
Taylor James Johnatakis
% 29628 Gamble PL NE

Kingston, Washington

cc: Angela D. Caesar, Clerk of Court United States District Court District of Columbia 333 Constitution Avenue N.W.
Washington, D.C. 20001

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004

cc: Allen H. Orenberg, The Orenberg Law Firm, PC. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854

ce: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 15 of 19

NOTICE OF DISHONOR

Notice Date: Day: Fourteen Month: Three Year: 2023 CE

Angela D. Caesar

Clerk of Court United States District Court District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument “NON-NEGOTIABLE NOTICE OF
ACCEPTANCE? dated Day: Twenty-Eight Month Two Year 2023 CE “Case 1:21-
cr-00091-RCL Document 34 Filed 05/07/21 Page 1 of 4 UNITED STATES DISTRICT
COURT FOR THE DISTRICT OF COLUMBIA Grand Jury Sworn in on January 8,
2021 CRIMINAL NO. 21-CR-01-03 (RCL) INDICTMENT COUNT ONE, Page 2 of 4
COUNT TWO COUNT THREE, Page 3 of 4 COUNT FOUR COUNT FIVE COUNT
SIX, Page 4 of 4 COUNT SEVEN COUNT EIGHT A TRUE BILL: FOREPERSON
Channing D Phillips Attorney of the United States in and for the District of Columbia” has

been dishonored or has not been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,

jeg pore fobs

Taylor James Johnatakis
% 29628 Gamble PL NE
Kingston, Washington

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

ce: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004
cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001

cc: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854
cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 16 of 19

NOTICE OF DISHONOR VW)

Notice Date: Day: Fourteen Month: Three Year: 2023 CE

Angela D. Caesar

Clerk of Court United States District Court District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument “NON-NEGOTIABLE NOTICE OF
ACCEPTANCE? dated Day: Twenty-Seven Month Two Year 2023 CE “Case 1:21-
cr-00091-RCL Document 31 Filed 05/04/21 Page 1 of 6 UNITED STATES DISTRICT
COURT FOR THE DISTRICT OF COLUMBIA Case No. 21-cr-91-01/03 (RCL)
PROTECTIVE ORDER GOVERNING DISCOVERY, Page 2 of 6, Page 3 of 6, Page 4 of
6, Page 5 of 6, Page 6 of 6 SO ORDERED 44th day of May 2021 Royce C. Lamberth
United States District Judge” has been dishonored or has not been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,

jefe fpr oo

Taylor James Johnatakis
% 29628 Gamble PL NE
Kingston, Washington

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St, N.W. Washington, D.C. 20530

cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004
cc: Kaitlin Klamann Assistant United States Attommey 601 D Street NW Washington, D.C. 20001

cc: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854
cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

Page 1 of i
Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 17 of 19

m/fA\
( U/ df
“O);
NOTICE OF DISHONOR Ve).
Notice Date: Day: Fifteen Month: Three Year: 2023 CE

Kaitlin Klamann

Assistant United States Attorney
601 D Street NW

Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument “NON-NEGOTIABLE NOTICE OF
ACCEPTANCE?” dated Day: Five Month Three Year 2023 CE “Case 1:21-cr-00091-
RCL Document 116 Filed 3/06/23 Page 1 of 4 UNITED STATES DISTRICT
COURT FOR THE DISTRICT OF COLUMBIA UNITED STATES OF
AMERICA v. CRAIG MICHAEL BINGERT ISAAC STEVE STURGEON
and TAYLOR JAMES JOHNATAKIS Defendants Case No.: 1-21-
ccr-00091-RCL GOVERNMENT’S RESPONSE IN OPPOSITION TO
MOTION TO SEVER, Page 2 of 4, Page 3 of 4, Page 4 of 4 CONCLUSION
Respectfully submitted MATTHEW M. GRAVES United States Attorney By:
Kaitlin Klamann Assistant United States Attorney” has been dishonored or has not
been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,

jeuper fore. phates
Taylor James Johnatakis
% 29628 Gamble PL NE

Kingston, Washington

ce: Angela D. Caesar, Clerk of Court United States District Court District of Columbia 333 Constitution Avenue N.W.
Washington, D.C. 20001

cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001

ce: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530

ce: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004

cc: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854

cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104

Page 1 of 1
Case 1:21-cr-00091-RCL Document 127-2 Filed 04/19/23 Page 18 of 19

NOTICE OF DISHONOR "EO

Notice Date: Day: Fifteen Month: Three Year: 2023 CE

Angela D. Caesar

Clerk of Court United States District Court District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

PLEASE TAKE NOTICE that instrument “NON-NEGOTIABLE NOTICE OF
ACCEPTANCE? dated Day: Twenty-Eight Month Two Year 2023 CE “Case 1:21-
cr-00091-RCL Document 43 Filed 02/16/21 Page 1 of 4 UNITED STATES
DISTRICT COURT for the District of Columbia Case: 1:21-cr-00091 Assigned To:
Lamberth Royce C Assign. Date: 02/05/2021 Description: INDICTMENT (B)
ARREST WARRANT G. Michael Harvey, U.S. Magistrate Judge, Page 2 of 14,
Page 3 of 14, Page 4 of 14, Page 5 of 14, Page 6 of 14, Page 7 of 14 ARREST
WARRANT, Page 8 of 14, Page 9 of 14 David 2. Christel United States Magistrate
Judge, Page 10 of 14 APPEARANCE BOND CASE No.: MJ21-5036-DWC,
Page 11 of 14 David Christel United States Magistrate Judge, Page 12 of 14
BOND CLOSED PASSPORT, Page 13 of 14, Page 14 of 14” has been dishonored or

has not been paid or accepted.

I intend to look to you for payment or performance.

Sincerely,

ipo fosren. Hota
Taylor James Johnatakis
% 29628 Gamble PL NE

Kingston, Washington

\
cc: Judge David W. Christel United States Courthouse 1717 Pacific Avenue Room 3100 Tacoma WA 983402
cc: WILLIAM M MCCOLL CLERK OF COURT, UNITED STATES DISTRICT COURT WESTERN DISTRICT OF
WASHINGTON 1717 Pacific Ave., Suite 3100 Tacoma, WA 98402
cc: Judge Royce C. Lamberth 333 Constitution Avenue N.W. Washington, D.C. 20001
cc: Matthew M. Graves United States Attorney Judiciary Center 555 Fourth St., N.W. Washington, D.C. 20530
cc: Maria Jacob OFFICE OF THE FEDERAL PUBLIC DEFENDER 625 Indiana Ave, N.W. Washington DC 20004
cc: Kaitlin Klamann Assistant United States Attorney 601 D Street NW Washington, D.C. 20001
cc: Allen H. Orenberg, The Orenberg Law Firm, P.C. 12505 Park Potomac Avenue 6th Floor Potomac Maryland 20854
cc: Christopher R Black BLACK AND ASKEROV PLLC 705 2ND AVE #1111 SEATTLE WA 98104
ce: Judge G. Michael Harvey U.S. District Court, District of Columbia (Washington, DC) 333 Constitution Avenue NW
Washington, D.C. 20001

Page 1 of 1
—*
—-

=H

>=

Ie
Dp

Tf

eer

I
on

¥
¢ ie

% 7

oe a
= See th, Del ree rai 9 = ? att fe as r =
= <ne se — ne = a aaa ages Ar, cae
= = OSes ee OOO ST es pO es.

TN ee UN ercaee CUCU
eee

Se
—= = > ets

State of Washington

County of Kitsap

CERTIFICATE OF DISHONOR

Identity of instrument- NON-NEGOTIABLE NOTICE OF ACCEPTANCE

Day Five Month Three Year 2023 CE

March, 7 2023
USPS Kingston Washington 98346

Date of instrument-
Date of mailing-
Place of mailing-
Person(s) obligated or
to become obligated- Kaitlin Klamann

Place of presentment- 601 D Street NW, Washington, D.C. 20001

FORMAL STATEMENT

1, Caylee Rowse , Notary Public in and for the STATE OF
WASHINGTON upon information satisfactory to me, certify that presentment of the
NON-NEGOTIABLE NOTICE OF ACCEPTANCE dated Day Five Month Three Year
2023 CE signed by Taylor James Johnatakis, was duly made on March 7, 2023 to Kaitlin
Klamann at 601 D Street NW Washington, DC 20001. The Presentment was sealed in an
envelope and deposited in the mail with the postage thereon, fully prepaid in Kingston,
Washington 98346 and the instrument has been dishonored by nonacceptance or
nonpayment. I also certify the NOTICE OF DISHONOR has been given to some or all

of the parities.

the
WITNESS my hand and official seal, this [BS Day of Merch, 2023

